      Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 1 of 21




           IN THE TINITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANET E. KERRICK,
                         Plantiff,
     V

NORTH PENN COMPREHENSIVE                  NO.:
HEALTH SERVICES tl d/b/ a
LAUREL HEAITH CENTER and
LAUREL HEAITH SYSTEM, INC.,

                         Defendant

                         NOTICE OF REMOVAL

     AND NOW, comes Bruce D. Brandler, United States Attorney for

the Middle District of Pennsylvania, and J. Justin Blewitt, Jr.,

Assistant U.S. Attorney on behalf of Defendant, North Penn

Comprehensive Health Services, and hereby give notice of the removal

of the above-captioned matter from the Court of Common Pleas for

Tioga Couaty, Penlsylvania, to this Court, pursuant to Title 28, United

Sates Code, Section 2679. T}:e United States is removing this action on

the following grounds:

     1. A civil action was frled against this Defendant in the Court of

Common Pleas of Tioga County, Pennsylvania, which was docketed at
         Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 2 of 21




Kerrick v. North Penn Comprehensive Health Ser-vices. et al, No. 128-

CV-2016. See complaint attached hereto as Exhibit A.

     2. The Defendant named in the action is North Penn
Comprehensive Health Services tldhlal Laurel Health Center, and

Laurel Health System, Inc.

     3. Pursuant to the provisions of the Federally Supported Health
Centers Assistance Act (FSHCA) of 1992,42 U.S.C.         S   233(g)-(n), the

United States Department of Health and Human Services has deemed

North Penn Comprehensive Health Services, an employees of the

United States for purposes of the Federal Tort Claims Act (FTCA), 28

U.S.C.   SS   2671, et seq. See Deeming Action attached hereto as Exhibit

B

     4. The FSHCA extends FTCA coverage to the grantees that have

been deemed covered under Section 233(h) and certain          ofits officers,

employees, and contractors.

     5. Section 28 U.S.C.     S 2679(dX2)   provides that upon certification

by the Attorney General that an employee of the United States was

acting within the scope of his offrce or employment at the time of the

                                       2
       Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 3 of 21




incident out of which the claim arose, any civil action commenced in

state court shall be removed.

      6. The above-captioned action is one which may be removed

without bond to this Court pursuant to subsection (dX2) of Section2679,

Title 28, United States Code, for the reasons that (a) Plaintiff seeks a

judgment for damages resulting from the allegedly negligent or

wrongful act or omission of the North Penn Comprehensive Health

Services; (b)   it was acting within the scope   of its employment as an

employees of the United States when         it was alleged to have provided
medical care and treatment to Plaintiff; and (c) the remedy against the

United States provided by Sections 1346(b) arrd 2672 of Title 28, United

States Code, is therefore exclusive ofany other civil action or

proceeding against the North Penn Comprehensive Health Services, for

money damages by reason of this lawsuit.

      7. The Attorney General has delegated certification authority to

the United States Attorneys. 28 C.F.R. S 15.3. In turn, the United

States Attorney for the Middle District of Pennsylvania has delegated




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       Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 4 of 21




certification authority to the Chief of the Civil Division, United States

Attorney's Offrce.

     8. Kate L. Mershimer, Chief, Civil Division, United States
Attorney's Office, has certified that North Penn Comprehensive Health

Services was acting within the scope of its employment when     it
allegedly provided medical care and treatment to Plaintiff.

See Certifrcation attached hereto as    Exhibit C.

     9. Notice of Filing this Notice of Removal has this day been

caused to be fiIed with the Prothonotary of the Court of Common Pleas

ofTioga County.

     WHEREFORE, the United States respectfully gives notice that

the above-captioned matter is hereby removed to the United States

District Court for the Middle District of Pennsvlvania.




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Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 5 of 21




                                  Respectfully submitted,

                                  BRUCE D. BRANDLER
                                  LINITED STATES ATTORNEY

                                  /s J. Justin Blewitt Jr.
                                  J. JUSTIN BLEWITT, JR.
                                  Assistant U.S. Attorney
                                  P.O. Box 309
                                  Scranton, PA 18501
                                  Phone 348-2800
                                  Fax:348-2830
                                  justin.blewitt@usdoi.eov




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      Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 6 of 21




              CERTIFICATE OF                  EBY
      The undersigned hereby certifres that she is an employee in the
Office of the United States Attorney for the Middle District of
Pennsylvania, and is a person ofsuch age and discretion as to be
competent to serve papers.

     That on DecemberL4 2016, she served copies of the attached:

                       NOTICE OF REMOVAL

by placing said copy in a postpaid envelope addressed to the persons
hereinafter named, at the places and addresses stated below, which is
the last known addresses, and by depositing said envelopes and
contents in the United States Mail at Scranton, Pennsylvania.

Addresses:

William A. Hebe, Esquire
17 Central Avenue
Wellsboro, PA 16901



                                   Teresa Fine an
                                 Teresa Finegan
                                 Legal Assistant




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Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 7 of 21




                        EXHIBITA
                   Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 8 of 21




                   JANET E. KERRICK                                                  : IN THE COURT OI-- COIVIMON PLEAS
                                         .tt$tsqf,f   -O pii 2: 23
                                                                                     : OF   TIOCA COUNTY, PENNSYLVANIA
                                  vs.                 ., i   _   .-.i   i,'I   .li
                                            i-:.t i r,: C.il.iiliS                   :   NO. 128 CV 2016
                   NORTFI PENN COMPREHENSIVE
                   I-IEALTFI SERVICES Vdlb/a                                         : JURY   TRIAL DEMANDED
                   LAUREL HEALTH CENTER, and
                   LAUREI, HEALTH SYSTEM, INC.
                                      Delendants

                                                                           NOTICE
                                  You have been sued in Court. Ifyou wish to defend against the claims set forth in

                   the tbllorving pages, you must take action within lwenty (20) days after this Complaint and Noticc

                   are served by entering a rwitten appearance personally or by attomey and                filing in writing with the

                   Court your defenses or objections to the claims set forth against you. You are warned that ifyou

                   lail to do so, the case may proceed without you and ajudgment may be entered against you by the

                   Court without further notice for any money claimed in the Complaint or for any other claim or

                   reliefrequested by the Plaintiff. You may lose money or property or other rights important to you.

                                  YOU SHOULD TAKE THIS PAPER 1'O YOUR LAWYER AT ONCE. IF YOU

                   DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.

                   THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.

                                  IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE

                   ABLE TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER

                   LEGAL SERVICES I'O ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

                                                  NORTH PENN LEGAL SERVICES
                                                         329 Market Street
                                                      Williamsport, PA 17701
                                                                          800-326-7436


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                                                                                     OI
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                                           TIOCA COUNTY COURT ADMINISTRATOR
                                                      I l8 Main Street
                                                    Wellsboro, PA 1690i
                                                                          570_724-9380
                    Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 9 of 21




                    JANET E. KERRICK                               : IN THE COURT OF COMMON PLEAS
                                           Plaintiff
                                                                   : OF   TIOGA COUNTY, PENNSYLVANIA
                                  vs.
                                                                   :   NO. 128 CV 2016
                    NOR'IH PENN COMPREHENSIVE
                    HEALTH SERVICES Udlb/a                         : JURY   TRIAL DEMANDED
                    LAUREL HEALTH CENTER, and
                    LAUREL HEALTI.I SYSTEM, INC.                       PROFESSIONAL LTABILITY
                                           Def'endants



                                                          COMPLAINT
                                  l.       Plainlift Janet E. Kerrick. is an adult resident of Tioga County.

                    Pennsylvania, residing at 527 Hager Road, Roaring Branch 17765.

                                  2.       Defendant, North Penn Comprehensive Health Services t/d/b/a Laurel

                    Health Center, is a licensed prolessional healthcare provider rvith an office at 6 Riverside

                    Plaza, Blossburg, Tioga County. Pennsylvania 16912. Plaintilf is asserting a professional

                    liability claim against this Defendant.

                                  3.       Defendant, Laure[ Health System, Inc., is a licensed professional

                    healthcare provider rvith an olfice at 22 Walnut Street, Wellsboro, Tioga County,

                    Pennsylvania. Plaintiff is asserting a professional liability claim against this Defendant.

                                  4.       At all times material to this cause of action, Plaintiff rvas a patient of

                    the Defendants at the Defendants' 6 Riverside Plaza, Blossburg, Tioga                   County.

                    Pennsylvania office.


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                   Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 10 of 21




                                 5.     At all times material to this cause ofaction, Defendants, acting through

                   their agents, servants and./or employees. otved a professional duty to Plaintiff to provide

                   medical care for her consistent rvith the standard of care required of similarly situated

                   professional healthcare providers.

                                 6.     From at least 2005 through January 2015, Plaintiff regularly sought

                   healthcare treatment lrom Defendants at the above-referenced Blossburg, Pennsylvania.

                   address.


                                 7.     In the course of a routine physical examination which occuned in

                   August 2010, Plaintiff undenvent chest x-ray at Soldiers   & Sailors Memorial Hospital in

                   Wellsboro, Tioga County, Pennsylvania, the result ofrvhich shorved, among other things,

                                        There is a 1 cm irregularly shaped density in the
                                        right lower chest laterally visible only on the PA
                                        vierv. No comparison studies are available. A
                                        pulmonary nodule cannot be excluded and CT
                                        should be considered for further evaluation.

                   The impression as noted by the radiologist rvas "Possible right-sided pulmonary nodule.

                   CT is recommended."

                                 8.     On August 18. 2010. Plaintiflundenvent    a   CT ofher thorax at Soldiers

                   & Sailors Memorial Hospital, wellsboro, Tioga county. pennsylvania, rvhich         revealed:

                                        Evaluation the lung rvindorvs demonstrates a 9
                                        mm diameter noncalcified nodule within the
                                                                          I
                                        right lower lobe (images 30-3 (sic). This
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                                        corresponds to the recent chest x-ray findings.
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 WETLSBOAO PA
                    Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 11 of 21




                                         There is an overall 4 mm diameter calcified
                                         nodule in the diaphragmatic pleura and a small
                                         (see 3 mm (sic) diameter noncalcified pleural-
                                         based nodule within the right lorver lobe (image
                                         number 42).

                    The impression as noted bv the radiologist rvas:

                                         1   ) 9 mm diameter noncalcified nodule     right
                                         lorver [obe. This corresponds to recent chest x-
                                         ray. If there are risk lactors for lung cancer! a
                                         PET scan or biopsy should be considered. If
                                         there are no lung cancer risk lactors a 4 - 6-
                                         month tbllorv-up CT scan of the thorax is
                                         recommended.
                                         2) Small pleural-based noncalcified nodule right
                                         lorver thorax.
                                         3)   Small calcified nodule along the
                                         diapfuagmatic pleura of the right lower thorax.

                                  9.     Plaintiff undenvent     a PET   CT skull base to mid thigh on September

                    9,2010. The report olthat study    states:

                                         Correlation is made lvith report of CT of the
                                         chest performed at Jersey Shore Hospital dated
                                         8/18/201 rvhich described a 9 mm noncalcified
                                         nodule in the right lorver lobe and a 3 mm
                                         pleural-based noncalcified nodule in the right
                                         lower thorax-

                                  10.    Despite the above findings, Defendants made no effort to follow up

                    rvith regard to the findings of Plaintiffs chest studies lrom 2010 until January 2015.




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                       Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 12 of 21




                                     ll.    Plaintiff continued to be seen on a regular basis by healthcare

                       providers at Defendants' Blossburg office for   a   myriad ofmedical issues from August 2010

                       through January 2015.

                                     12.    At the time ofan office visit rvhich occurred on January 5, 2015, the

                       physician seeing Plaintiff ordered a chest x-ray.

                                     13.    Various x-ray and other radiographic tests rvere administered to

                       Plaintilfin January of20l5. The x-ray exam ofJanuary 7,2015 revealed. "Thereisa3 cm

                       diameter mass located rvithin the right lower lobe rvhich was not present on the previous

                       study." The impression of the radiologist     rvas:

                                             I   )   Nerv   3 cm right lorver lobe lung   mass
                                            rvorrisome for the lung carcinoma.
                                            2) A CT scan ofthe thorax is recommended for
                                            further evaluation this finding.

                                     14.    On January 13, 2015, Plaintiff undenvent CT of the thorax rvith

                       comparison to the previous examination         of 8/18/2010. The January 13, 2015 study

                       revealed:

                                            There is a 2.5 cm diameter noncalcified nodule
                                            rvithin the right lower lobe. The lesion has a
                                            spiculated border. Spiculations extend to the
                                            lateral pleural surfaces. There is a very small (3
                                            mm diameter) satellite nodule anteriorly. There
                                            is a very small (2 mm) noncalcified nodule
                                            occurring near the minor fissure (image 29).
                                            There is a I .7 cm diameter nodule along the
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                                            medial pleural surlace anteriorly rvithin the right
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                      Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 13 of 21




                                           middle lobe. This is best seen on images 40-43.
                                           The left lung and pleural space is clear. There is
                                           normal size of the heart.

                      The radiologist's impression rvas:

                                           l)   2.5 cm diameter noncalcified spiculated
                                           nodule rvithin the right lower lobe. This nodule
                                           has increased in size rvhen compared to previous
                                           study ol8/18/2010 and most likely represents a
                                           lung carcinoma.
                                           2) 1.7 cm diameter noncalcified pleural-based
                                           nodule within the anterior medial aspect of the
                                           right middle lobe rvhich was not present the
                                           previous study. This finding may represent
                                           metastatic nodule or secondary primary neo-
                                           plasm.
                                           3) No evidence of hilar or mediastinal masses or
                                           lymphadenopathy.
                                           4) 2 mm diameter noncalcified nodule occuning
                                           rvithin or near the minor fissure (image 29).

                                    15.    Plaintilf undenvent NM PET CT skull      base to   mid thigh exarnination

                      on January 28, 20 15, rvhich confinned the previous x-ray and CT studies. The radiologist

                      revierving the January 28, 2015 studies reached the follorving impression:

                                           I ) Interval increase in size and intensity ofright
                                           lung nodule is suggestive        of    malignancy.
                                           Further evaluation by biopsy is recommended.
                                           2) Nerv hypermetabolic right lung parenchymal
                                           nodule is also rvonisome lor malignancy.
                                           3) Intrathoracic lymph node rvith increased FDC
                                           activity is suggestive ofnodal metastases.
                                           4) There is nerv cutaneous uptake at the left
                                           flank. Correlation rvith trauma, focal inflamma-
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                                           tion and other clinical findings is recommended.
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                    Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 14 of 21




                                  16.     Plaintilf was referred to Susquehanna Health in Williamsport,

                    Lycoming County. Pennsylvania, for further treatment, and specifically has been seen by

                    oncologist Charles Agbemabiese. M.D.. and surgeon, Mark A. Osevala, D.O.

                                  17.     Dr. Osevala performed     a   right thoracotomy rvith excisional rvedge

                    biopsy of the right lorver lung mass on February    1'l   ,2015. That biopsy came back positive

                    for malignancy, and at surgery   a nodule was   lound in the right upper lobe rvhich also went

                    to biopsy and came back rvith identical malignancy as to the lorver lobe lesion.

                                  18.     Thereafter, Plaintift undenvent chemotherapy and radiation lor

                    treatment of lung cancer.

                                  19.     Most recently, Plaintiffhas been diagnosed rvith Stage 4lung cancer

                    and is extremely   ill, her condition necessitating more chemotherapy and radiation.

                                  20.     Plaintiff believes and, therefore, avers that the Defendants breached

                    the required standard ofcare rvith regard to the healthcare provided to her as follorvs:

                                          (a)    failing to order any follow-up tests, evaluation or examinations

                    of the nodules discovered on x-ray in 2010;

                                          (b)    failing to inform Plaintiffofthe risks associated rvith the 201 0

                    radiographic findings;

                                          (c)     tailing to employ competent and consistent healthcare providers

                    so that Plaintiff s condition could be lollorved and appropriately monitored.
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                    Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 15 of 21




                                  21.    As a direct, proximate and substantial result of the above-described

                    negligence, Plaintiff is norv suffering from life-threatening lung cancer: has endured and

                    rvill continue to endure great mental and emotional pain and suffering, all of rvhich           is

                    severe and permanentl a loss   ofthe pleasures of life; expenditures of funds for treatment,

                    and mental and emotional distress which could have been avoided      ifappropriate follorv-up

                    care had been ordered and carried out by the Defendants follorving the August 2010

                    positive x-ray finding.

                                  WHEP.EFORE, Plaintiffdemands judgment against Defendants, individually

                    and/orjointly and severally, in an amount in excess ol$20,           ge ther   with costs

                                                               SPENC                N, HEBE & RA            . P.C




                                                                   William A. Hebe, Attomey for Plaintiff
                                                                   l7 Central Avenue
                                                                   Wellsboro, PA 16901
                                                                   570-724-t832
                                                                   I.D. #16601




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                    Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 16 of 21




                                                     VERIFICATION
                                  I verifo that the statements   made in the foregoing Complaint are true and

                    correct. I understand that lalse statements herein are made subject to the penalties of l8

                    Pa.C.S. $4904, relating to unswom falsification to authorities.




                                                                  Oo,ot -l-^;-/c
                                                                      E. Kenick



                    Dated
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 II/ELLSAORO   PA
Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 17 of 21




                         EXHIBIT B
   Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 18 of 21




1. ISSUE OATE: 61412015



2a. FTCA DEEMING NOTICE NO.:
1-F0000051 9-'15-0'l


 b. Supersedes: I I



  COVERAGE PERIOD:
FROM: 1/1/2016 THROUGH: 1213112016
                                                                      DEPARTMENT OF HEALTH AND
                                                                            HUMAN SERVICES
4. NOTICE TYPE: Renewal                                             HEALTH RESOURCES AND SERVICES
                                                                            ADMINISTRATION


5a. ENTITY NAME AND ADDRESS:
NORTH PENN COMPREHENSIVE HEALTH
SERVICES, INC
22 WALNUT STREET
                                                                   ',#)"iJJJi
   LLSBORO, PA 1 6901 -'l 526
                                                                         NOTICE OF DEEMING ACTION

                                                                        FEDERAL TORT CLAIMS ACT
                                                                             AUTHORIZATION:
 . ENTITY TYPE: Grantee                                         Federally Supported Health Centers Assistance
                                                                         Act (FSHCAA), as amended,
                                                                Sections 224(g)-(n) of the Public Health Service
                                                                       (PHS) Act,42 U.S.C. S 233(g)-(n)
  EXECUTIVE DIRECTOR:
Kramer Steven


  . GRANTEE ORGANIZATION:
 ORTH PENN COI\iIPREHENSIVE HEALTH
SERVICES. INC




8b. GRANT NUMBER: H80CS00682



  THIS ACTION IS BASED ON THE INFORMATION SUBMITTED TO, AND AS APPROVED BY
HRSA, AS REQUIRED UNDER 42 U.S.C. S 233(h) FOR THE ABOVE TITLED ENIry AND IS
SUBJECT TO THE TERMS AND CONDITIONS INCORPORATED EITHER DIRECTLY OR BY
REFERENCE IN THE FOLLOWING:

 a. The authorizing program legislation cited above.
 b. The program regulation cited above, and,
 c. HRSA's FTCA-related policies and procedures.

n he     eve nt th ere a re co nfl ct tn s or othe   SC   nco n s IS ent po cl es a p p ca b Ie to h e prog ra m the
  OV e   ord e of p reced ence S h al pre a
10. Remarks
   eCase
     check4:16-cv-02415-MWB
           box [x] in the supersedes Document     1 that
                                     field indicates Filed
                                                         this12/06/16   Page 19any
                                                              notice supersedes  of and
                                                                                    21 all
 ctive NDAS and rescinds any and all future NDAS issued prior to this notice.

             signed by Tonya Bowers, Deputy Associate Administrator for Primary Health
Care on: 61412015 6:16:49 PM
Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 20 of 21




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    Case 4:16-cv-02415-MWB Document 1 Filed 12/06/16 Page 21 of 21




                          CERTIFI CATI ON
      I, Kate L. Mershimer, Chief, Civil Division, United States

Attorney's Office for the Middle District of Pennsylvania, acting

pursuant to the provisions of 28 U.S.C.   S 2679(dX2),   and by virtue of the

authority vested in the United States Attorney by the Appendix to 28

C.F.R. S 15.3, and his re-delegation of that authority to me, hereby

certify that I have read the Complaint and related court papers in this

action and other relevant material. On the basis of the information now

available with respect to the allegations therein, I frnd that Defendant,

North Penn Comprehensive Health Services, was acting within the

scope of   its employment as an employee of the United States at all

relevant times during which medical treatment was provided to Janet

E. Kerrick.




  A-;Zr
Kate L. Mershimer
Assistant U.S. Attorney
Chief, Civil Division
228 Walnut Street, Suite 220
Harrisburg, Pennsylvania 17108

Dated:     tz   L 20/ L
